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 1 Jason ‘Jay’ Barnes (admitted pro hac vice)         Geoffrey Graber, State Bar No. 211547
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11 JOHN DOE, JANE DOE I, JANE DOE II, and             GIBBS LAW GROUP LLP
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14

15                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                              SAN FRANCISCO DIVISION
17   IN RE META PIXEL HEALTHCARE                   Case No. 3:22-cv-03580-WHO
     LITIGATION
18                                                 CLASS ACTION
19   This Document Relates To:                     DECLARATION OF JASON “JAY” BARNES
                                                   IN SUPPORT OF PLAINTIFFS’ MOTION
20   All Actions                                   FOR APPOINTMENT OF INTERIM LEAD
                                                   COUNSEL
21

22                                                 Date:    November 21, 2022
                                                   Time:    2:00 p.m.
23                                                 Ctrm.:   2, 17th Floor
                                                   Judge:   Hon. William H. Orrick
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                                                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
                             DECLARATION OF JASON “JAY” BARNES IN SUPPORT OF
                        PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM LEAD COUNSEL
       Case 3:22-cv-03580-WHO Document 81 Filed 10/19/22 Page 2 of 17




 1                           DECLARATION OF JASON “JAY” BARNES

 2          I, Jay Barnes, hereby declare under penalty of perjury:

 3          1.     I am an attorney who has been admitted to practice before this Court pro hac vice in

 4 the above‐captioned matter.

 5          2.     I am a shareholder at the law firm Simmons Hanly Conroy, LLC and one of the

 6 attorneys of record for Plaintiffs John Doe, Jane Doe I, Jane Doe II, and John Doe II and the

 7 proposed Class.

 8          3.     I have personal knowledge of the facts set forth herein and, if called as a witness,

 9 could and would testify competently to them.

10          4.     I submit this Declaration in support of Plaintiffs’ Motion for Appointment of Interim

11 Lead Counsel.

12          5.     Simmons Hanly Conroy, along with members of the Proposed Interim Lead Counsel,

13 brought the first medical privacy cases regarding the use of the Facebook Pixel in June 2019. Since

14 that time, we have successfully pursued a number of these cases across the country. Those cases

15 include:

16                 a.      Jane Doe v. Virginia Mason Medical Center, et al., Case No. 19‐2‐26674‐1

17                         SEA (State of Washington, King Superior Court);

18                 b.      Doe v. Medstar, Case No. 24-C-20-000591 (Baltimore City, Maryland);

19                 c.      Doe v. Mercy Health, Case No. A 2002633 (Hamilton County, Ohio);

20                 d.      Doe v. Partners, Case No. 1984-CV-01651 (Suffolk County, Massachusetts);

21                 e.      Doe v. Mercy Health, Case No. A 2002633 (Hamilton County, Ohio);

22                 f.      Doe      v.   Sutter   Health,   Case   No.   34-2019-00258072-CU-BT-GDS

23                         (Sacramento County, California);

24                 g.      Doe v. University Hospitals, Case No. CV-XX-XXXXXXX (Cuyahoga County,

25                         Ohio);

26                 h.      Doe      v.   Sutter   Health,   Case   No.   34-2019-00258072-CU-BT-GDS

27                         (Sacramento County, California)

28                 i.      Doe v BJC Health System; Case No. 4:22-cv-00919-RWS (E.D.Mo.);
                                                   2       CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
                              DECLARATION OF JASON “JAY” BARNES IN SUPPORT OF
                         PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM LEAD COUNSEL
         Case 3:22-cv-03580-WHO Document 81 Filed 10/19/22 Page 3 of 17




 1                  j.     Kurowski v. Rush System for Health, Case No. 1:22-cv-05380 (N.D. Ill.).

 2            6.    For the past several years, I have not only rigorously pursued privacy violations

 3 arising out of the use of the Facebook Pixel on hospital websites, but also through similar tools

 4 created by other tech companies, including Google. My work and results in these other medical

 5 privacy cases have been the subject of reporting in The Markup. 1 Moreover, I serve as lead counsel

 6 for the already-certified patient class in Jane Doe v. Virginia Mason Medical Center, et al., Case

 7 No. 19‐2‐26674‐1 SEA (State of Washington, King Superior Court).

 8            7.    Beyond my experience in litigating medical privacy cases, I also serve as Chairman

 9 of the Steering Committee in a recently-settled matter against Facebook. In re Facebook Internet

10 Tracking Litig., Case No. 5:12-md-02314-EJD (N.D. Cal.). This case is of particular importance

11 because it was a landmark victory for data privacy rights, achieved only after a more than ten-year

12 battle.2

13            8.    Finally, in addition to my experience in data privacy litigation, my firm has also
14 served as class counsel for numerous consumer class actions (including before this Court, see

15 Johnson v. Nissan North America, Inc., 3:17-cv-00517-WHO (N.D.Cal.)) and continues to serve as

16 co-lead counsel in In Re National Prescription Opiate Litigation, MDL 2804 (N.D. Ohio).

17            9.    As set forth more fully in Exhibit A attached hereto, Simmons Hanly Conroy has the
18 experience, knowledge, and human and financial resources to vigorously pursue this matter on

19 behalf of the Putative Class.

20            10.   To that end, I have already worked cooperatively and efficiently with other members
21 of Proposed Leadership to develop the claims raised in this case, as well as identify hundreds of

22

23   1
     Facebook is Receiving Sensitive Medical Information from Hospital Websites, The Markup,
   https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-medical-information-
24 from-hospital-websites (last visited Oct. 18, 2022) (noting my work in the above-referenced

25 Partners case in Massachusetts).
   2
     June 2020: Facebook, Cookies and Data Privacy: A Watershed Moment?, JD Supra (2020),
26 https://www.jdsupra.com/legalnews/june-2020-facebook-cookies-and-data-27641/ (published by
   prominent defense firm Quinn Emanuel Urquhart & Sullivan LLP) (“[C]ompanies that profit from
27
   the sale of user data should be on notice that the decision in [Facebook Internet Tracking] may well
28 be a watershed for data privacy lawsuits in this area.”).
                                                      3        CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
                              DECLARATION OF JASON “JAY” BARNES IN SUPPORT OF
                         PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM LEAD COUNSEL
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 1 hospitals implicated in Facebook’s conduct. This work, of course, has not only included the

 2 identification of hospitals that have used the Facebook Pixel, but also careful rejection of the

 3 identification of hospitals that have not. See October 5, 2022 Hearing Transcript 11:1-3 (“I think

 4 we’re puzzled by how we fit into this. You know, all the more so because DHMF didn’t actually

 5 use a pixel on either its public-facing or patient portal.”).

 6          11.     Finally, we also served initial, informed discovery on Facebook at the early stages of

 7 our case to further advance the interests of the Class.

 8          I declare the foregoing under penalty of perjury under the laws of the United States of

 9 America.

10          Executed on October 19, 2022, at Jefferson City, Missouri.

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                                                                    /s/ Jason “Jay” Barnes
13                                                                 Jason “Jay” Barnes

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                                                       4        CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
                               DECLARATION OF JASON “JAY” BARNES IN SUPPORT OF
                          PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM LEAD COUNSEL
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 1                               CIVIL L.R. 5-1(h)(3) ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(h)(3), I, Jeffrey A. Koncius, hereby attest under penalty

 3 of perjury that concurrence in the filing of this document has been obtained from all signatories.

 4

 5   Dated: October 19, 2022                                   /s/ Jeffrey A. Koncius
                                                               Jeffrey A. Koncius
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                                                      5        CONSOLIDATED CASE NO. 3:22-CV-03580-WHO
                              DECLARATION OF JASON “JAY” BARNES IN SUPPORT OF
                         PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM LEAD COUNSEL
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      EXHIBIT “A”
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          IN RE META PIXEL HEALTHCARE LITIGATION
                 NORTHERN DISTRICT OF CALIFORNIA
                     SAN FRANCISCO DIVISION
                   Case No. 3:22-cv-03580-WHO
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                   GENERAL INFORMATION AND FIRM HISTORY




A LEADING NATIONAL LAW FIRM. Simmons Hanly Conroy is a leading national law firm
representing individuals, businesses and government entities seeking justice. Our clients
have been harmed in every conceivable way: by terrorism, child abuse, defective drugs and
devices, toxic exposures and economic conspiracies. We are at home in the justice system,
whether in state or federal court, and we seek the best procedural course for our clients,
including the filing of individual cases, class actions, or multidistrict mass tort litigation, as
circumstances require.

A STRONG FOUNDATION AND COMMITMENT TO JUSTICE. Led by John Simmons, Paul J.
Hanly, Jr., and Jayne Conroy, and with 90 attorneys and 150 support staff in offices coast to
coast, the firm brings centuries of experience to bear against companies who have harmed
American workers and families. We have spent years researching, talking to countless
experts, and creating a network of knowledge that gives clients the comprehensive resources
they deserve. We use these resources to level the playing field against larger opponents in
and out of the courtroom, and we have prevailed. Rest assured that SHC has the resources
and capital to handle almost any case, and the staying power to remain committed
throughout the litigation process. We are resolute and unwavering in our stance against
corporate wrongdoers.

A PROVEN RECORD OF SUCCESS. We stand on a strong foundation of values and a track
record of success. We never lose sight of the fact that our success is measured one satisfied
client at a time. Keeping this paramount is what helps drive our success. To date, Simmons
Hanly Conroy has secured over $9.6 billion in settlements and verdicts on behalf of
thousands of clients across the country.

A DIVERSE LITIGATION PRACTICE. OUR PRACTICE AREAS INCLUDE:
                                                      BUSINESS AND COMMERCIAL LITIGATION
  ASBESTOS & MESOTHELIOMA LITIGATION
                                                      CATASTROPHIC PERSONAL INJURY
  DANGEROUS DRUGS & MEDICAL DEVICES
                                                       LITIGATION
   LITIGATION
                                                      CLASS ACTIONS & MASS TORT
  SEXUAL ABUSE LITIGATION
                                                       LITIGATION



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                              FIRM AFFILIATIONS & AWARDS


SIMMONS HANLY CONROY and its attorneys are listed in several peer-reviewed legal
listings for its mass tort and private liability litigation practices, and have been recognized by
a number of legal and business listings, including:




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                                  FIRM QUALIFICATIONS


FIRM QUALIFICATIONS | Notable Cases
SIMMONS HANLY CONROY attorneys have a history of persevering for their clients amid the
most challenging circumstances and fierce opposition during the course of class action and
mass tort lawsuits. The following representative cases illustrate the firm’s experience,
commitment, and success in handling complex litigations.

                                      Opioid Litigation
Since 1999, the amount of opioids sold in the U.S. has nearly quadrupled. Over that same
time period, the number of deaths from prescription opioids have also more than
quadrupled. From 1999 to 2019, nearly 500,000 people have died in the United States from
overdoses involving opioids.
As hundreds of thousands of people suffered from the metastasizing opioid epidemic,
attorneys at Simmons Hanly Conroy took notice and effectively invented large-scale, multi-
defendant opioid litigation against drug manufacturers. In 2003, the firm commenced
groundbreaking opioid litigation and went toe-to-toe against pharmaceutical giants,
becoming the only major plaintiffs’ firm in the country at the time to prosecute and hold
drug manufacturers accountable for the havoc they wreaked on individuals, families and
governmental entities throughout the country.
Simmons Hanly Conroy continues to lead the way in opioid litigation against drug
manufacturers, distributors and retail pharmacies. SHC shareholder Jayne Conroy is co-lead
counsel in the In Re National Prescription Opiate Litigation, MDL 2804 (N.D. Ohio) and a
member of the Plaintiffs’ Steering Committee in In re McKinsey & Co. Inc. National Prescription
Opiate Consultant Litigation, MDL 2996 (N.D. Cal.). In addition, the firm was lead trial
counsel for Suffolk County, New York in one of the first opioid cases to go to trial.

    In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Products Liability Litigation
In December 2016, SHC Shareholder Jayne Conroy served on the lead trial team that
secured a $1 billion jury verdict against the defendants on behalf of six patients who were
injured by DePuy’s Pinnacle metal-on-metal hip implant. The jury awarded more than $1
billion punitive damages and nearly $40 million compensatory damages. The legal team
convinced the jury in the U.S. District Court for the Northern District of Texas, Dallas
Division that J&J sidestepped standard regulatory review and misled doctors to believe that
the design of the market-leading device was safe. The evidence presented during testimony
against J&J told the deeper story of how the science was manipulated in order to sell the
product, Jayne Conroy said. The trial was the third bellwether trial as part of the federal
multidistrict litigation.
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In March 2016, SHC Shareholder Jayne Conroy served on the lead trial team that secured a
$502 million jury verdict against the defendants on behalf of five patients injured by DePuy’s
Pinnacle metal-on-metal hip implant. The jury verdict for $142 million compensatory and
$360 million punitive damages followed 37 days of testimony in the U.S. District Court for
the Northern District of Texas, Dallas Division. The trial was the second bellwether trial as
part of the federal multidistrict litigation.

               In Re: Toyota Motor Corp. Unintended Acceleration Marketing,
                       Sales Practices, and Products Liability Litigation
SHC filed the first lawsuits on behalf of vehicle owners harmed by unintended acceleration
in 2010. Three years of hard-fought litigation followed in which firm shareholder Jayne
Conroy played a leading role, having been appointed by U.S. District Judge James Selna as
a member of the plaintiffs’ leadership team. In connection with the settlement, Ms. Conroy
was separately appointed by Judge Selna as one of three settlement allocation counsel charged
with overseeing the allocation of settlement funds to millions of Toyota owners throughout
the United States. SHC helped to secure more than $1.1 billion, plus $200 million in
attorneys’ fees and Toyota’s reimbursement of plaintiffs’ counsel’s expenses in the amount
of approximately $27 million

                   In re Volkswagen “Clean Diesel” Marketing, Sales Practices,
                                and Products Liability Litigation

A total of $15.9 billion in a class action lawsuit was awarded to the owners of Volkswagen
diesel vehicles that had secret software installed to falsely pass emission tests. More than $10
billion of the settlement was for buybacks of 2.0-liter diesel vehicles and owner
compensation. Another $1.2 billion was for buybacks of 3.0-liter diesel vehicles and the
remaining $4.7 billion went to offsetting excess emissions. Shareholder Jayne Conroy serves
on the Plaintiffs’ Executive Committee of the Volkswagen MDL.

                   In re Chantix (Varenicline) Products Liability Litigation
Chantix, known by the generic name varenicline, works by blocking the effect of nicotine
on the brain. In early 2008, U.S. Food and Drug Administration officials acknowledged
receiving troubling reports from Chantix patients throughout the U.S. These reports
included 34 cases of suicide and nearly 420 reports of suicidal thoughts and behaviors. Firm
attorneys Jayne Conroy, Clint Fisher and David Miceli served on the Plaintiffs’ Steering
Committee against Pfizer. The case consolidated more than 2,500 lawsuits filed between
2009 and 2012 and was settled for approximately $299 million.




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                   In re: Actos (Pioglitazone) Products Liability Litigation
The Actos lawsuits alleged Takeda Pharmaceutical Company executives ignored or
downplayed risks about the drug’s cancer-causing potential before Actos went on sale in the
U.S. in 1999, and also misled regulators about the medication’s risks. As reported by
Bloomberg, Takeda executives failed to provide clear warnings about the associated cancer
risk for at least seven years. Although research showed a link between Actos and bladder
cancer, the company chose not to issue warnings to consumers. SHC Shareholder Jayne
Conroy served as a court-appointed member of the Plaintiff’s Steering Committee and
helped secure millions of dollars for clients, with a global total of $2.37 billion.

                     In re: Yasmin and YAZ (Drospirenone) Marketing,
                      Sales Practices and Products Liability Litigation
Bayer aggressively marketed its birth control medications Yaz and Yasmin, claiming the
medications also treated PMS symptoms, caused weight loss and treated acne. Not only were
the claims misleading, according to the FDA, but the newer pill was also found to be three
times more likely to cause serious, fatal complications. SHC, led by attorney Jayne Conroy,
and joined by attorneys Trent Miracle and Paul Hanly, Jr., filed litigation on behalf of over
100 clients injured by the drug. Ms. Conroy and Mr. Miracle were appointed to leadership
positions on the federal Yaz MDL and helped negotiate the final global settlement of $1.69
billion dollars for all women harmed by the drug.

                         Joseph Jean-Charles v. Douglas Perlitz et al.
The firm represented 24 Haitian boys who were the victims of a pedophile sponsored by
Fairfield University and the Society of Jesus. Members of the firm traveled to Haiti on
numerous occasions to investigate the case and provide counsel to the victims. Because of
their extraordinary efforts in both Haiti and the federal court proceedings in the United
States, the firm was able to hold the defendants responsible and provide justice to the victims
and their families, garnering a $12 million settlement and $500,000 per victim.

                     Chambers et al v. Merrill Lynch & Co., Inc., et al.
In this nationwide class action suit, the firm represented 1,100 former Merrill Lynch
financial advisors who were denied deferred compensation benefits upon the acquisition of
the company in 2009 by Bank of America. The complex case involved difficult issues of
contract interpretation in the context of class certification. The settlement was in the amount
of approximately $20 million for the plaintiffs. Shareholder Paul Hanly, Jr. served as lead
counsel.




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                         Families Impacted by 9/11 Terrorist Attack
SHC proudly represented thousands of family members of September 11 victims in their
suits against financial sponsors of terrorism and against airlines and airport security
companies. Working directly with Ronald L. Motley in this litigation, Simmons Hanly
Conroy co-founder Jayne Conroy was appointed to a leadership role on the Plaintiffs’
Executive Committee for Personal Injury and Death Claims. She, and other firm mass tort
attorneys, represented the consolidated cases against the airlines and security companies in
the multidistrict litigation against the financial sponsors of terrorism. In 2007, the litigation
was settled for hundreds of millions of dollars in payments to clients of the firm. The firm
also represented property owners who suffered financial injury as a result of the September
11 attacks.

                    Synergetics USA, Inc. v. Alcon Laboratories Inc., et al.,
SHC represented Synergetics, a small medical device manufacturer, in an antitrust lawsuit
against a larger competitor. The suit alleged that Alcon engaged in certain anti-competitive
conduct in the market for vitreoretinal surgical equipment and supplies. Shareholder Paul
Hanly, Jr. served as lead counsel and the firm secured a $32 million settlement.

                           In re Syngenta MIR162 Corn Litigation

The In re Syngenta MIR162 Corn Litigation MDL involved Syngenta’s Agrisure Viptera corn,
a strain that had been genetically modified to be resistant to insects. While Viptera had been
approved in 2010 for sale in the United States, it did not have such acceptance in corn
markets worldwide, which class members allege was responsible for economic chaos within
the U.S. corn market. Shareholder Jayne Conroy served on the Plaintiffs’ Steering
Committee for the Syngenta MIR 162 MDL and the case ultimately resulted in Syngenta
agreeing to pay $1.51 billion to the members of a class of U.S. farmers who either grew corn
or rent land for growing corn. The result was considered by some to be the largest monetary
award to-date in a court case involving agriculture.




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FIRM QUALIFICATIONS | Leadership Appointments (Partial List)
SHC attorneys have held court-appointed leadership roles in high-stakes, high-profile
litigation of national scope. To be appointed, the firm and its attorneys must have a track
record of experience and have the resources necessary to litigate the cases. A sampling of
cases in which SHC attorneys have held leadership positions is as follows:

                CONSUMER PROTECTION & DATA PRIVACY CLASS ACTIONS
      In re Facebook Internet Tracking Litig., Case No. 5:12-md-02314 (N.D. Cal.)
      Doe v. Partners Healthcare System, Inc., et al., Case No. 1984CV01651-BLS1
       (Massachusetts Superior Court, Suffolk County)
      Doe v. Virginia Medical Center, et al., Case No. 19-2-26674-1 SEA (Washington
       Superior Court, King County)
      Calhoun et al v. Google LLC, Case No. 5:20-cv-05146-LHK (N.D.Cal.)
      In re Google RTB Consumer Privacy Litig., No. 4:21-cv-02155-YGR-VKD (N.D.Cal.)
      Johnson v. Nissan North America, Inc., 3:17-cv-00517-WHO (N.D.Cal.)

                              OTHER MULTI-DISTRICT LITIGATIONS
      In Re National Prescription Opiate Litig., MDL 2804 (N.D. Ohio)
      In re McKinsey & Co. Inc. National Prescription Opiate Consultant Litig., MDL 2996 (N.D.
       Cal.)
      In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., MDL No. 2921 (D.N.J)
      In re Volkswagen “Clean Diesel” Marketing, Sales Practices, And Prods. Liab. Litig., MDL
       No. 2672 (N.D. Cal.)
      In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Prod. Liab.
       Litig., MDL 2151 (C.D. Cal.)
      In re Terrorist Attacks on September 11, 2001, MDL 1570 (S.D.N.Y.)
      In re DePuy Pinnacle Hip Implant Prods. Liab. Litig., MDL 2244 (N.D. Tex.)
      In re DePuy ASR Hip Implant Prods. Liab. Litig., MDL 2197 (N.D. Ohio)
      In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf Of Mexico, on April 20, 2010,
       MDL 2179 (E.D. La.)
      In re Syngenta AG MIR162 Corn Litig., MDL 2591 (D. Kan.)
      In re Zoloft Products Liability Litigation, MDL 2342 (E.D. Pa.)
      In Re Propecia (Finasteride) Product Liability Litigation, MDL 2331 (E.D.N.Y.)
      In re Pelvic Repair System Products Liability Litigation, MDL 2325, 2326 & 2327 (S.D.
       W. Va.)
      In re Actos Products Liability Litigation, MDL 2299 (W.D. La.)
      In re Yazmin and Yaz (Drospirenone) Marketing, Sales Practices and Prods. Liab. Litig., MDL
       2100 (S.D. Ill.)
      In re Chantix (Varenicline) Prods. Liab. Litig., MDL 2092 (N.D. Ala.)
      In re Gadolinium-Based Contrast Agents Prods. Liab. Litig., MDL 1909 (N.D. Ohio)
      In re Zyprexa Litig., MDL 1596 (E.D.N.Y.)
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FIRM QUALIFICATIONS | Resources and Commitment
                                              As noted above, SHC has 90 lawyers
                                              and 150 support staff, has extensive
                                              financial resources, has extensive
                                              experience in mass torts and complex
                                              litigation, has a significant reputation
                                              nationwide, and has successfully
                                              prosecuted thousands of claims against
                                              some of the largest companies in the
                                              world.


Simmons Hanly Conroy has the track record, the staying power and the resources to
handle all phases of litigation of this matter and the firm is committed to aggressively
prosecuting this case through final resolution. Our firm has and will continue to
litigate cases in multiple courts across the country, and we have the resources and the
capital to support ongoing litigation. A sample list of the resources we bring to bear
are as follows.
OUR RESOURCES
                   90 attorneys and 150 paralegals, assistants and
                    support staff spread through six offices in the United
                    States

                   Full-time case investigators, including former police
                    officers

                   State-of-the-art technical support for document
                    management and trial preparation

                   Research and Discovery Department comprised of
                    veteran attorneys and PhD researchers

                   Robust national network of consulting and trial
                    experts




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                              ATTORNEY QUALIFICATIONS

ATTORNEY QUALIFICATIONS | Jason “Jay” Barnes, Shareholder
                           Attorney Jason “Jay” Barnes is a shareholder at Simmons Hanly
                           Conroy in the Complex Litigation Department. He leads the
                           Class Action Litigation Team and focuses his practice on
                           consumer protection and data privacy lawsuits. Prior to joining
                           the firm, Jay served eight years as a state representative in the
                           Missouri General Assembly. In this role, he fought against fraud,
                           abuse and waste as chairman of the House Committee on
                           Government Oversight and Accountability. He also served as
                           chairman of the Special Investigative Committee on Oversight
formed in 2018 to investigate the wrongdoings of former Missouri governor Eric Greitens.

As a shareholder at the firm, Jay represents hardworking people who have been wronged
through corporate fraud and utilizes a mixture of experience, dedication, professionalism
and tenacity to secure justice on behalf of his clients. As one of the nation’s leading
consumer-privacy attorneys, Jay has head leadership positions and key roles in several notable
privacy cases. For example:
     Doe v. Partners Healthcare System, Inc., No. 1984CV01651 (Suffolk Co., MA)
     In re Google Cookie Placement Consumer Privacy Litig., 806 F.3d 125 (3d Cir.
      2015)
     In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262 (3d Cir. 2016)
     In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589 (9th Cir. 2020)
     Smith v. Facebook, 745 Fed. App’x 8 (9th Cir. 2018) (unreported)

An Award-winning Attorney, Jay’s accomplishments are well-documented not only through
verdicts, settlements and press clippings, but also through the awards and accolades he’s
received from his peers and community. A small sampling of notable honors include:
     Influential Lawyer Award, Missouri Lawyers Weekly, 2019
     Champion of Justice Award, Missouri Association of Trial Attorneys, 2018
     State Advocate of the Year Award, St. Louis Children’s Hospital, 2015
     Rory Ellinger Legislative Award, The Legal Services of Eastern Missouri, 2015
     Legislator of the Year Award, Missouri Bar Association, 2014
For additional information please visit https://www.simmonsfirm.com/about-us/our-attorneys/jason-
barnes/
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ATTORNEY QUALIFICATIONS | Eric S. Johnson, Shareholder
                             Attorney Eric Johnson is a shareholder at Simmons Hanly
                            Conroy, focusing his practice on complex litigation, mass torts
                            and consumer class actions. Eric graduated with his master’s
                            degree in public health from the University of Illinois at Chicago
                            and earned his J.D. from St. Louis University’s School of Law
                            where he was a member of the school’s National Moot Court
                            Competition Team. During law school, he also worked as a law
                            clerk for Judge Paula Bryant in the 22nd Judicial Circuit Court in
                            St. Louis. Eric is a member of the Missouri Bar and admitted to
                            practice in the Eastern and Western Districts of Missouri, and the
                            South and central Districts of Illinois.

As a shareholder of the firm, Eric has represented individuals in consumer protection and
consumer fraud class actions, dangerous drugs and defective medical devices litigations, and
data privacy actions. In 2012, Eric was selected to serve on the national multidistrict litigation
discovery sub-committee involving the DePuy Pinnacle System metal-on-metal hip implant.
He was also awarded the Judge Robert G. Dowd, Sr. Appellate Advocacy Award in 2008.

ATTORNEY QUALIFICATIONS | An V. Truong, Associate Attorney
                          Attorney An Truong is an associate attorney at Simmons Hanly
                          Conroy where she focuses her practice on class action lawsuits in
                          the Complex Litigation Department. Located in the firm’s New
                          York City office, An works with a team of attorneys to give clients
                          a voice against corporations who prioritize profits over individuals’
                          health and safety.
                           As an associate attorney, An focuses her practice consumer
                           protection and data privacy classes and is involved in all stages of a
                           litigation from client interviews, discovery review and briefing, to
taking depositions and assisting with settlement negotiations. In 2020, an was selected to
serve on the national multidistrict litigation law & briefing subcommittee in In re: Allergan
Biocell Textured Breast Implant Products Liability Litigation, MDL No. 2921.
Prior to joining Simmons Hanly Conroy, An was as a Senior Appellate Court Attorney with
the New York Supreme Court, briefed complex legal and procedural issues for appellate
justices. She is a graduate of the Ohio State University and obtained her J.D., cum laude,
from the New York Law School. She is a member of the New York Bar and admitted to
practice in the Southern and Eastern Districts of New York.




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